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Law Offices of
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ALAN R. SMITH, ESQ. #1449
HOLLY E. ESTES, ESQ. #11797

 

 

Law Offices of Alan R. Smith
505 Ridge Street ELECTRONICALLY FILED
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Telephone (775) 786-4579
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Email: mail@asmithlaw.com
Attorney for Debtors ANTHONY
THOMAS, WENDI THOMAS
and AT EMERALD, LLC
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—oo00o00—
In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and Chapter 11 Cases
WENDI THOMAS,
[Jointly Administered]
AT EMERALD, LLC, NOTICE OF ENTRY OF ORDER
APPROVING MOTION FOR
EXTENSION OF DEBTORS’
EXCLUSIVE TIME PERIODS TO
Debtors. FILE AND OBTAIN
CONFIRMATION OF THEIR PLANS
OF REORGANIZATION
Hearing Date: July 30, 2014
/ Hearing Time: 10:00 a.m.

PLEASE TAKE NOTICE that the above-entitled Court entered an Order Approving
Motion For Extension of Debtors’ Exclusive Time Periods To File And Obtain Confirmation
of Their Plans Of Reorganization [DE 158] on the 5" day of August, 2014 (“Order”). A copy
of said Order is attached hereto as Exhibit “A” and made a part hereof.

DATED this 6" day of August, 2014.

LAW OFFICES OF ALAN R. SMITH
By: /s/ Alan R. Smith
ALAN R. SMITH, ESQ.
Attorney for Debtors

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Law Offices of
ALAN R. SMITH
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Byrve 7 Oak,

Honorable Bruce T. Beesley
United States Bankruptcy Judge

 

 

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gust 05, 2014

ALAN R. SMITH, ESQ. #1449

HOLLY E. ESTES, ESQ. #11797

Law Offices of Alan R. Smith

505 Ridge Street ELECTRONICALLY LODGED
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Email: mail@asmithlaw.com
Attorney for Debtors ANTHONY

THOMAS, WENDI THOMAS

and AT EMERALD, LLC
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—o00000—
In Re: Case No. BK-N-14-50333-BTB

Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and
WENDI THOMAS, Chapter 11 Cases

[Jointly Administered]

ORDER APPROVING MOTION
FOR EXTENSION OF DEBTORS’
EXCLUSIVE TIME PERIODS TO
FILE AND OBTAIN

Debtors. CONFIRMATION OF THEIR
PLANS OF REORGANIZATION

Hearing Date: July 30, 2014
Hearing Time: 10:00 a.m.

AT EMERALD, LLC,

/
Debtors, ANTHONY THOMAS, WENDI THOMAS and AT EMERALD, LLC (the
‘Debtors’’), by and through their counsel, HOLLY E. ESTES, ESQ., of the Law Offices of

 

Alan R. Smith, filed their Motion For Extension Of Debtors’ Exclusive Time Periods To File

 

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1 || And Obtain Confirmation Of Their Plans Of Reorganization (the “Motion’’) on June 2, 2014
2 | [DE 72]. The Court having considered the pleadings and papers on file and good cause
3 || appearing,
4 IT IS HEREBY ORDERED that the Debtors’ Motion is granted and the120-day
5 || exclusive time period for Debtors to file their plans of reorganization is extended from June
6 || 2, 2014, to and including August 31, 2014, and further that a 90-day extension is also granted
7 || for the corresponding exclusive period for obtaining confirmation of Debtors’ plans of
8 || reorganization.
9 IT IS SO ORDERED
10 In accordance with Local Rule 9021, counsel submitting this document certifies that
the order accurately reflects the court’s ruling and that (check one):
11
12 a No party appeared at the hearing or filed an objection to the motion.
13
RESPECTFULLY SUBMITTED BY:
14
LAW OFFICES OF ALAN R. SMITH
15
By: /s/ Holly E. Estes
16 HOLLY E. ESTES, ESQ.
Attorney for Debtor
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Law Offices of
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